                                    #:15
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                                   EXHIBIT A
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                                                             #:16



     I   Heather Appletan Esq    SBN 162283
         happleton aappletonlg GQm
                                                                                  sup     Q     ouR OF Cq L1F4RNIA
                                                                                    CqUNTY
                                                                                     s  s 4F  SAh BEftNARDENO
                                                                                           n a r rva
  2      Cherryl F Cercada                      SI N 249 90                                                     s aicT
                                      Esq
         ccerc ado Ja appletonlg eom
  3      APPLETO            LAW GROUP A C                                                QG               ZCI
         2041 Rosecrans Avenue Suite 38U
  4      El Se undo California 94245
         Telephone     310 474 7022
                                                                                         RIAN   a   tTl   pR
     5   Facsimile     31 D 474 70 3                                                                             p FUTY


     6   Attorneys for Plaintiff
         Natasha Scoggi s
     7


     8                             SUPERIOR COURT OF THE STATE                     F CALIFORl 1IA


  9                                         FOii THE CflUNTY OF SAN BERNARDINO

     0


 I1      IvATASHA            COGGIi IS                                        ASE NO
                                                                                              V                 Z               2
                                                                                                                          FE
 32                 Plaintiff                                             GASE FILED

 13      vs                                                              ASSIGNED FOR ALL FURPOSES TO H                                   N
                                                                                              DEPT
 14      RYDER II iTEGRATED LOCISTICS INC                      a
         I   ela   are   corporatian      RYD R SYSTEM                   PLAINTIFF 1 4TASIIA SC JGGINS
 15      INC a corporatic n of unkna vn jurisdiction                     C4MP LAINT F4R DAMAGES AND
         RYDER S STEMS INC a corporati4n of                              INJUNCTI E RELIEF FgR
 1b      unknor n jurisdiction atid D 7E5 1 through
         S                                                                1        rongful Terminatian in Violation
 t7                                                                              af Public F olicy
                    Defendants                                           2       iJnlawful Retaliation
 18                                                                      3       Discriminat on 8ased an Being
                                                                                 Regarded as Disabled
 19                                                                      4       Failure ta Frevent Discrimination
                                                                                 Hara sment and Retaliation
 2p                                                                      S       Failar to Pay Statutarily Mandated
                                                                                 Wages
 21                                                                       6      Rreach of Fxpr ss Verbal and
                                                                                 Written Cantract
 ZZ                                                                       7      Promissory Fraud
                                                                                 Failure to Pay Premium Pay far
 23                                                                              iVlissed Me l Periods
                                                                         9       Failur to P y All Wages Due Upon
                                                                                 Terrninat on of Employment in
                                                                                 Viol tion of Labor Code section 2U1
 25                                                                       10     Eai ure to Timety Providc Cpmptete
                                                                                 Personnel File
 2                                                                        11     Vialation af Labflr Cade Section
                                                                                 G311    nd

 27                                                                       12     Unfair Business Practices


     g                                                                    UEMAND F        R TRIAL BY JURY

                                                                    1                                            a   c23         oSt             5
              NATASHA SCQGGINS CUMY UA INT FQR DAM AGES AND iNJUNCTIVE RELIEF
                                                                                                                 r incc   on   aecyctc   PaPer
         Client Fiieslki LEfl1l X73lOt 072823 WPt7
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    F9Nq k7yc           4   O
              tioc
                     N
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                                                         #:18



      1
                       PlaintiffNatasha Scoggins cornplains and alleges as follows
                                                            PARTIES

     3                 1      At all relevant times Plaintiff Natasha Scoggins     Plaintiff   was and no       is an

     4
           individual residing in the County of San Bernardina State of California
     5                 2
                              At all relevant times Defendant Ryder Integrated L ogistics Inc was and now is a
  6
           Delaware corp rati n doing business and employ ing iredividuals in the County of San Bernardino
  7        State af California

                    3         At all relevant times Defendant Ryder System Inc was and now is a corporation
  9
           ofunlazown jurisdiction d ing business and employing individuals in the County ofSan
 10
           Bernardino State of California though not registered with the California Secretary of State
 11                 4
                              At all relevant times Defendant Ryder Systeius Inc was and now is a corporation
 12
           of unkno vn jurisdiction doing business and employing individuals in the County of San
 13
           Bernardina State ofCalifornia though not registered with the Califomia Secretary af State
 14                 5         The true names and capacities of Defendants DQES 1 through 50 inelusive

 I5
          whether individual cotporate associate or otherwise are unknown to Plaintiff at the time of filing
 16
          this Complaint and Plaintiff therefore sues said defendants by such fictitious names and wi11 file
 I7       an Amendment to this Complaint to shaw their true iames or capacities when the sarne have been
 18       ascertained Ptaintiff is infortned and believes and based thereon alleges that each of the DOE

 19
          defendants is in some manner responsible for the events and l appenings herein set forth and
20
          proximately caused injury and damages to Plaintiffas herein alleged

21                  6
                             At aIl times herein mentioned each of the defendants were acting as tlie agents
22
          and or employees of each af th remaining defendants and were at a11 times herein rnentioned

23        acting within the scope of said agency and empioyment except where alleged ar contended

24        othenvise



25                 7
                             Plaintiff is informed and believes and therean alleges that each of the fictitiously
26        named defendants is responsible in some maiuier foi the occurrences herein alleged and those

27        defendants proxirnately caused are respansible f r and or legally liable for Plaintiff s damages as
28        herein alleged      Each reference in this complaint to    Defendant    Defendants    or a specifically
                                                                2

             NATASHA SCOGGINS COMPLAINT FOR DANIAGES AND INJUNCTI E RELIEF
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                                  i                           #:19



      named defendant refers ta and includes all defendants sued under fictifious names On

  2   inft nnation and belief Plaintif makes all aile atic ns contained in this Camptaint against aIl
  3
      t efenciants inc uding DUES 1 through 50
  4               8           Vv henever in this Cc mplaint reference is matle tt            az              f L7efendants
                                                                                                  y ac   t                     such



  5   allegations shall be deemed to mean all nained Defendants and L QES 1 throu h 50 or their

  6   officers agents rnana ers representatives employees heirs assignees cwtamers tenants did ar

  7
      authc rized such acts w ile actively engaged in the operation management directian or c ntrol of
  S   Defendants affairs and vhile acting within the cour e and scope of their duties except as
  9
      specitical y alle cd to the coatrary

 10               9          At ali times herein mentivned and with respect to the specific matters alleged in this

 11
      Gorn iaint except rh re specifically alleged t Che cor trary Plaintiff is infarmed and he ie Tes that
 12   each ciefendant rvas a parent subsidiary affiliate alter ego partner agent francl isee licensee

 13   employee ernployer cantrolling franchiser cantrolling licensor principal and or jaint venturer of
 14   each af the remaining defendants and was at all times actisrg within the course and scope c fsuch

 15   agency service employment contrc l andlor joint venture and each defendant has xatified

 Ib   a proved profited from and or aufhorized the acts of each of the rernaining defendants andlor

 17   failed to revent such acts cvhen having the pc wer anc3Jor duty to dc so with full lcnowl dge af

 18   said acts



 19               l 0        P aintiff is infarmed arld believes and based thereot alleges th t some of the


 20   defendants may be liable ta Plaintiff under legai theories and doctrines including but not limited to
 21     1   joint employer            2 integated enterprise 3 agency ancilor 4 alter ego E ased in part on the
 22   facts set farth belc w

 23               11         The possibility of dual employ nent is well recognized                      VVhere an etnployer sends


 24   an employee ta do wc rk far another perso i and l oth have the right ta exercise certain paEvers of

 25   control Qver the employee                  that em   Ioyee inay be held to have t iro ezrployers               lathie    v


 26   14 rr reld Cor          20Q4      115 Cal App A th 1174 1183            Irt suc i cases the ernplt ye may loak to

  7     ither or hath employers for enforcernent of her rights                   Id at I 1    4     An ernplayee assecting

 28   cla rns against two joint empioyers must show that each defendant kne v or should hav known
                                                                        3
            NATASHA SCOGGINS COMPLAINT FOR DAMAGES AND ZNJUNCTIVE RELIEF
      Client F 1es13C5 L Ef7l lfl 33 f 067 823 1VPD                                                                   rinYed on RecycleQ Papec
Case 5:21-cv-00076-JWH-kk                        Document 1-1           Filed 01/15/21      Page 6 of 35 Page ID
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   1
       ofthe discriminatory canduct and that it failed to take those corrective measuxes withui its
  2    control           T illic m s v Grin es Aerospace Co        D SC 1997 988 F Supp 92         937      Also in SEIU

  3        Sz p Ct
       v
                         1982 137 Ca1 App 3d 320 325 the Court noted that the factors to be considered in
  4    determining the           jouit   e nployer   issue were    exclusive right to control the duties of the

  5
       personnel the power to discharge the empEayze payment of salary nature of the services and the
  6    parties belief as to the emptoyrnent relationship
  7                12
                               Where parent and subsidiary or other related business entities operate as an
  8      integrated enterprise           the parent is liable for discrimination                         Hukill ti    A rto
                                                                                   by any st bsidiary
  9    Care Inc          4th Cir 1999 192 F 3d 437 442 1L1orga z v Safex ay Stores fnc 9th Cir 1989 884

 10    F 2d 1211         121         In determining whether an integrated enterprise exists Courts focus on the
 i t   folloti ing factors           interrelation of aperations     cenvalized control af labor relations         common



 12    management              and    comrnon
                                                 ownership or financial control      Lockc rd v Pizza Hut Ine           lOth


 13    Cir 199          162 F 3d 1062        069 Cook v Arrowsmith Sftelb7srrle lnc        2nd Cir 1995 69 F 3d

 14    1235     1240 Laird v          Capital Cities ABG Inc       1998 68 Cal App 4th 727 737 Ka tg v U Lirn

 IS    Amenca lrtc             9t i Cir 2002 296 F 3d 8 i0 815

 16                                                JURISDICTION AND VENUE


 17               13           This Court ias personal jurisdiction over the Defendants because they are residents
 1S
       of have contacts with and or were and are doing business in the State of California
 19               14           Venue is proper in this County and Judicial District in accordance with Code of
20     Civil Procedure sections 394 and 395 a because Defendants or some of them do business in this

21     judicial district and Plaintiff and others were empioyed by Defendants ia this County and Judicial
22     District


23                                                   FACTUAI ALLEGATIONS


24                15           In August 2018 Natasha Scoggins then lrnown as Natasha Kyle submit ed an


25     employrr ent application to work for Defendants


26                16           During Plaintiff s interview for the position on August 28 2018 Wellington

27         Butch       Duplessis explained to Plaintiff that the job was hard woi k           and expressly offered to

28     Plaintiff        if you need to be reassigned leE me l now

                                                                    4

           NATASHA SCUGGINS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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     l               17         As      art of   her Au tzst 28 interview             laintiff   as required to perform
                                                                                                                             raad test

     2
         which lasted approxicnately I hour Plaintiff was not campettsated for that time worked
                     I           3y Ietter dateci
                                                            ugust 30 20l 8 Plaintiff was offered tl e pflsition ofTruck Driver
     4   Class 3         FT with I7efenclants

     S              19
                                Plau tiff began wQrl ing for Defendants on Septeznber 4 20i
 6                  20          CJn ar about September 4 201
                                                                              during Plaintiff s orientation Duplessis told
 7       Plai    tiff to    let him kriaw        if th     re are   any chailenges      and offer d      I can put you i i anoth r
 8       position
                           When Plai tiffasked Duplessis it he had that porver he replied ta her that he
 9        absaiuteiy          iad that power


10                 21
                                During her firsC weeic af work Plaintiff was assign d tc train with a driver named
 l
         Rc n During that first week Ran showed PlaintiFf pictures of his hause pictures of his nephew
12
         and even onc cirove by iis lzouse durin their route                          Ron also stoad sc close to Plaintiffthat it

13       made her feel uncornfortable

14                 22           During her second                eek of work Plai itiff was assigned to train cvith a driver


15       named Kaul Plaintiff asi ed Raul for assistance in le rning how to safely exit the truck Raui
tb       r sponded that he used the rcrtler dcaor but Plail tiff responcied that she did not tl ink tliat rnethod

 17      was safe



 18                 23          On or al out September I2 2018 Plaintiff made a delivery to a Yard House

 19      location in Temecula Califarnia As she walked throuah the restaurant with her delivery a Yard

 20      Ho     se employee whistled at                her and exc aimed         Hc t    at Plair tiff


                    24          On Septernber 2I 2018 on c ne ofher tirst cieliveries with Raul Plaintiff was

 22      double checking the paperwork and the delivery order and R ul bec ame impatient telling Plaintiff
 23      to     just leave it       and asked          what s       vr
                                                                         ng   l laintiffresponded that she was simply krying ta

 2       malce sure the deliv y was correct
                                                                          to the truck Plaintiff saict to Raul      If you re not going
 2S                  25          As they were walki              g back

                                                                                     I m nat training yau      When Plaintiffasked
                                                            it    Raut replied
          tc train me we need ta               address
 26

                                                                                         Fuck     and added They just said you were
 27       Raul uJhat he Gva s doing he respt nded by exclaiming


 28       riding with me
                                                                                 S

              NATASHA SCOGGINS Cgi iPLAINT FC3 R DAMAGES AND INJUNCTIVE I ELIEF
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     1              2b          Wt en they got back inta fhe tzuck Raul snatched the papers out of iaintiff s hand

     2   s an nec his dt or and s ed away tc t e next customer VVhile on the way to the next delivery

         lc cation R aul vas drivzng recklessly talking c n a personal phone ca11 and generally ignc ring
     4   Plaintiff


     5              27          Unce tliex acrived at the next customer Plaintiff remained in the truck wt ile Rau

     6   tiid the delivery After completing t11e deJivery Raul continued his personal phone call in the

     7   custamer s parking lot

     8              28           Plaintiff exited the truck                  7d asked Raul to call dispatch   At first Raul ignored


     9   Plaintiff ana then                e gat back tn the truck And infor ned Plaintiff that Suzanne Berokoff was on the

 1       phtne      Ptaintiff ret uested that Rau put the cail otl speaker phone and when he isc P aintiff

 l 1     learned she 4vas speaking not only with Berakt ff but also Grc up Logistics Manag r Mike Sharha
 12                29           Plaintiff reported to Berokoff and Sharbo she did not feel safe riding                      ith Raul that


 13      he had snatclled the invoices ti om her slammed the door and used the f                               word with her       Plainiiff

 14      a ked far sorneone to come                        rescue    her

 15                 30          Berakoff respernded that shc would vork on it but Sharba interjected asking

 16      Plaintiff to tJber back Plaintiff reptied that she was unable to do that and asked again for

 1 T     someon to come get hcr Sh zrbo asked Plaintif if she wo ald continue ta ride tith Raui until they

 18       c t to their p1an ecl delivery Iocation in PaCm Springs
 19                 3l          VVhile l ey tirove ta Palm Springs Raul was on persc nal phone calls most of the
 20      time h was driving When h hung up Raui asked Fraintiff to just 6nist the route with l im
 21      Plaintiff respond d that they should just try to get thraugh the day

 22                 32           When they returned to the Fontana Hub at the end of therr day Plaintiff
 23      immediately rent to speak with Sharba in his c ffice Plaintiff introduced herself to Sharbo and
 2       reiterated what iad occurred earlier that day Shar6a respc nciec by te ling Plaintifft report tha

     5   incident tc Human Resoarces and Duplessis


 26                   3          After ineeting             vith   Sr arbt    Plaintiff tivent to the Human Resources o     ce and




 27      reportr d what had occurred to Hurnan Resaurces Coardinator Nancy Chanon Chanon told

 28      Plaintiff that she Plaintif                  wauld ne ed t           discuss the incident with Human R esources Ma lager
                                                                                    fi

            NATASfIA SCOGGINS COMFLA N f FC R DAMAGES AND INJUNCTIVE REL EF
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      I
            Shelly Steavens buf added that Steavens was gone for the day Plaintiff replied th t she would
  2
           send an email to Duplessis about the incident In chatting further Chanon mentioned to Plaintiff
  3
           that there was an open Admin position at the Fontana Hub that she suggested rnight be a suitable
  4        fit for Plaintiff

  S                     34
                                    Later that sarne day Plaintiff sent an email to Duplessis requesting to meet with
  6        nim regarding safety training and her                               Raul
                                                              situation with
                                                                                      Plaintiff asked Dup essis to let her
  7
           l iow vhere to report the following Tuesday after her regular days off Saturday Sunday and
  8        Monday

  9                     35
                                    In response to Plainfiff s ernail Duplessis sent an email to Plaintiff telling her to
 10
           report to the Fontana Hub at 9 00 a m on Tuesday September 25 2018
 i l                    36
                                    As she was directed on I uesday September 25 2018 Plaintiff met with Duplessis
 12
           and Steavens at the Fontana Hub During the meeting Plaintiff reported that Raul was out of
 13       control        vas driving in an unsafe matter yelled the f word at her slammed the trttck door and

 14       was entering and e iting the truck in an unsafe rnanner using the belt on the back roller door to
 15       pull himsalf into the back of the Cruck to retrieve the product

 16                    37          On September 25 2018 Plaintiff also reported to Duplessis and Steavens that

 17       during her deliveries she experienced other safety issues including that the customers floors were
 18       very slippery that the delivery required her to pass by a blazing flaming grill and that it was
 19       unsafe fo get in and out of the truck

 20                    38
                                   Steavens responded to Plaintiff Natasha I hear you But tornorrow I m going to
 2I       put you back on tbat same route


 22                    39          Plaintiff requested thaf she be transferred to a different position   When Steavens

 23       started to explain she eould not dc that Plaintiff tolct Steavens that Duplessis had offered to put

 24       her in anotl er position and that he had the authority to do so Steavens looked at Duplessis and
 25       asked if he had made such a promise to Plaintiff and Duplessis admitteci he had done so

 2b                    40          Plaintiff added that she was a vare that there w as an open admin position at the


 27       Fontana Hub              Steavens replied that they would discuss the issue but told Plaintiffthat she needed

 28       to let her knaw by 5 00 p m what she wanted to do For the next couple of hours Steavens
                                                                       7
              1VATASHA SC4GGINS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                             #:24



  1        assigned Plaintiff to do adrnin work such as ftling itl t e Human Resaurces office
  2                 41          Later that same night Plaintiff sent an email to Steavens and Duplessis reiterating
  3        she felt unsafe ridirlg with Raul

  4                 42          In her Septemb r 25 2018 ernail Plaintiff alsa reported that during her deliveries
  5
           she experienced other safety issues includixtg that the cus amers fioors were very slipp ry that
  6        the   delivery required h r to pass by a blazingr f arning grill and that it was unsafe tc       et in and out

  7        of the truck Ptaintiff aiso sta ed she felt she vas working in a hostile work enviror rnent In lzer
  8        enlail Plaintiff asked Duplessis t          adhere t a his verbaI agreement tcr transfer her

  9                 43           n September 2fi 2418 at Steavens s r quest Ptaintiff sign d a VtTorkplace

 10
           Investigation fozm by which Flaintiff acknowledged Defendants vere conclucting an
 t1
           investigation inta her complaints The Workplace Investi ation form assured Plaintiff she would
 12        not he retaliated a ainst fc r participating in the investigatic n as vell as informed Plaintiif she avas

 13        enritlec to pursue h multiple channels provicied by Defendants if she believed she experienced

 14        retaliation



 15                 44          That same day at Ptaintiffs request Steavens sent an eanail to h r supervisor

 1G        Seniar Human Resaurces Mana er La a Luckey capied to Plaintiff notifying Luckey that Plaintiff
 17        wanted tc tlisc uss      a situatian that she has with    her account


 18                 45          Later in the day on Septernber 26 2018 Plaintiff spake with Luckey and reparted

 19        the same cc ncerns she l ad previous r ported Luckey responded that Duplessis shouldn t l ave

 20        promised ta transfer P2aintiff Plain iffadded that she was aware of the open adtnin positit n at the

 21        Fontana Hub anci tc ld Luckey that she vas qualified tc do that job Luckey said she vould discuss
 22        the issue with Steavens and get back to Plaintiff

  3                   b         tlfter the call Plaintiff received an emai frain Steavens stating in part

 24                  As per our canversatit n as         ell as the c anversatiQn that vou had with Ms Luckey
                      sic The position that you vere hire sic for at the iine warehouse location is not
 2S                  a gaod fit for yc u at this time We respect yaur concerns in this matter and have
                     taken them very se iously Since you no longer feel that you are alnle to perform the
      6              duties of this pc sition aad would like another oppoi tunity within Ryder possib2y in
                      an administrative rale         sic Ryder will give you 5 five days frorn tc day to pursu
 27                   a pc sitian within tli com any for any open pasitivn that you may be interested in
                      During this peciod of time you will t e on an unpaic leave and you are not
      f3              a thonzed to be on Ryder or custorner property t any time If you are u nable to

                 NATASHr SCt3            GIN5       Ct 1 IPLAINT FOR llAliriAGE         f ND IN3 JNCTIVE RELIEF
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  1             secure a positic n within the company at the end of this period your em layment
                with Ryder uill be terminated oi act 4 2019 sic
  2


  3             47           1 hat sam day Plaintiff was placeci an unpaid leave

                  8          Alsa on S ptember 26 20 t 8 even though she had been working for Defendants far
  5
       inore than 3 weeks PlaintifFwas requested ta provide an additianai autharization to the company
  6    fhat conducts background checks for Defendants

  7             49           C n September 27 201           Plaintiff asked Luckey Yo put her in touch with

  8    T efendants s Human Resources Clirectar In res onse Luckey stated she tivould have the fluman
  9    Resc urees Directox cantact Plainti             directly
 10             S0           Lat   r   in the day on Septernber 27 201     Steav ns sent an emaii to Plaintiff with

 l1    cantact information for Defendant s Human Kes urces Directar Peggy Hinkle In the same ernail
 l2
       Steavens infortned Plaintzff that she was sending her ADA paperwark since you are requesting an
 13                           to your positian that you were hired for
       accommadation
                                                                              Plaintiff replied by email clarifyzn to
 14    Steavens       This is a safe y issue nat an          DA


 15             51           Thc u h they scheduled a call for 9 00 am EST on September 28 201 S when
 16    Plaintiff ca led at that tirne E inkle did not answer Plaintiff sent a fo low up email and the two

 17    exchan ed emails regarding resch dulin the call
 IS             52           Around the same time frame Ptaintiff began an intensiCed internal search for a

 1R    differ nt position wit iin Defendants Th re were numerous positions f r which Plaintiff was

 20    qualified and Alain iff began submitting her resume

 21             53           On September 27 and 28 2018 Plaintiff exchanged email messages with


 22    Defendants I2ecruiter Patrick Canroy re arding apen positions Conroy offered ta paslt far an
 23    interview for any positivn Plaintit identified

 2              54           C1n   eptember 30 2Q18 Plaintiff cTas asked to complete a Voluntary

                                                     farm   Plaintiff checked the box indicating   No I don t have a
 25    Self Identifietttion of Disability


 26    disability

 27              55          Cln or at c ut Qctaber l 2018 Plaintiff s oke with Human Resources Manager fc r

  28   Moreno Valley Kerri Martinez Plaintiff tald l lariinez she was interested in the num rous
                                                                     9

          N ATASHA SCOGGINS CQ                         ZP AINT FUR DAMAGES               ID INJUNGTIVE RELIEF
                                                                                                        rinted   orr Recycied   Pa   er

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                                                           #:26


      1                                    te in Mc renca
          positions posted as availal
                                                               Iley

  2                56       On or about 4ctober 2 2018 Plaintiffspokc r 7ith phone urith Hinkle and prc vidad

  3
          cletaiis of the incident with Raut safety concerns the hostile wark enviranrnent retaliation and
  4       transferring ta another pc 5it14tt

  5                57       Later in dte day o       f ctober 2          018 PlaintifFrnemarialized the telt phonu
  6
          conversation in a follow up email whicl also provided details of the sex al harassrnent that
  7
          occurred at the Yard House wbich was not eovered in the phone call                    Plaintiff s em il alsa

  8       c anfirmed her agreement with           Hinkle that tt
                                                                     twc would talk the follpwing day
  9               58
                            C7n October 3 20 i 8 P aintlff s oke again with Martinez anc learned that Martinez
 10
          had spr ken with Hinkle During this call Martinez inforrned Plaintiff th t the t nly p sitions
 iI       available were
                             ternparary       Ptaintiffasked far more information since areviously rtane ofthe
 12
          available positions were listed as temporary
 13               59        In respc nse to Plaintiffs question Martinea said she knew haw to do herjab and

 14       added that she was going to tetl Hinkle that Plaintiff was nc t interested in the v en positians

 15       Wtzen Plaintiff sai i that statement was n t true M rtinez hung up on her
 2G               fQ        Plaintiff was sht cked and immediatelr called i iartinez right back Martinez

 I7       answered and Plaintiffagain started asking why the ositions vere now marked as temporary

 18       Martinez again said to Plaintiff          I know haw to do n1y job          and again hung up an Plaintiff

 19               6l        Also af er Hinl le be ame invnlved wi h Plaintiff s concerns Canroy stopped

 2Q       con municating with Plaintiff

 21               62        On ar about October 3 201 S Plaintiff receivecl a letter from Steavens by PedEx

 22       incorrectly canfirming that laintiffhad requested accomrnodation for jher current condition
  3                63       The Octot er 3 20181etter further requested Plaintiff corn lete the enclQsed

 24       Em loyee R quest far Accommodakion Foim and provide her physician with a Request far
 25       Medical Information including Job Descriptic n and Authorization for th e Release of Medical
  2       Inf rmation signed by Plaintiff

  27               64        Steavens Qctober 3 2018 letter directeci Plaintiff tc retum the cam aleted fc rms ta
  28      Human Resources by Septernber 12 2018                    sic     Enclosed with   teav ns s letter were the
                                                                           la

             NATASHA SCQGG NS C MPLAINT F4R DAMAGES AND IN TLrNCTIVE RELI F                                   Prittted on Reoycled Paper
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     1
             following 1 Ernployee Disability Accommodation Request 2 a 3 page Request for Medical
     2       Inforrnation for Reasonable                      ccammodation tt be ct rnpleted by a physician and 3 a 2 age
     3
             Authoriza ic n for Release of Health Infflrmatit n Pertaining io Fami y and Vledical I eave Act c r
     4       Fitness for Duty As essment Including Ce tifcation t fHealth
                                                                                                       are Provider S bmi ted by
     5       Defendants fo be comple ed by Plaintiff
     6                  65
                                    Also on Octob r 3 20I8 Hinkle sent an emaii to Plaintiff requesting they schedule
     7       a call to discuss the sexual harassment issue


     8                  66          Qn Friday Octpber 5 2 18 Plaintiffand Hinkle spoke by phane and discussed
     9
         Martinez hangin up an Plaintiff twice and sexual harassment at the ITard House Hinkie assured

     0
         Ftaintiff her cc ncerns were being addressed inc uding th t a safety team was gaing ta the
 1i      warehouse to inspect Plaintiff s assi ned tz uck


 12                     67          Hinkle                   the October S   201
                                                    nded
                                                                                     diseussion by explaining ta Plaintiff that she had
 13      S days to             nd a pasitian within Defendants or she wauid be terminated and eligibl e for rehire

 14                     68          Plaintiff e plained to Hinkle that she had been loal ing far anather position
 15      internally but her applications were being blocked Plaintiffexpressed that she shauld nat be

 16      forced to work in a hosti7e en Tironment ar subjected ta retaliatiort and or sexual harassment

 17      Plaintiff asked Hinkle for assistance w ith locatin                             an altetnative pasition and while Hinkle said

 l       she would             think ab ut it           she alsc ad rised Plaitttiff to lc ok for positic ns over the weekend

 13                     69           3n     Tuesday bctQber 9 20              Plaintiff se t a follt      up email to Hinkle asking fc r

 20          n update on her effoi ts to ocate a position far Plaintiff The Octc ber 9 emaii specifically

 21      reiterated           th t Plaintiff vas sufferin             retaliatian        in response to her own job search witt all


 22      anline        applications         bearing a notatic n nat under con5ideration sc mething new since Pl intiff s

 23      discussions with Hinkle

 2                      70          Also          n or abc ut     ctaber   9 201         P1a ir it rec ived a edEx delivery from
 25      Uefendants cc ntaining a second letter from Stea tens again inc43 rectly confitming that Plaintif

 26      had        x equ st      d accommc datit n for             herJ current conditian         The C ctober 9 201    letter further


 27      requested Plaintiff complete the enclosed Ernplaye                                 Request for Accommodation Form and


 28          ravide her ahysician with a Request for Medic l Infarinatian including Job Description and
                                                                                    tl
               NATASHA SCOGGINS                              COMPLAINT F             R DAhiAGES AND CNJUT iCTIVE RE LIEF
              ienc Filestls   LEC11 t403U   t   72323 LVPB                                                               Printsd on ftexydcYl Paper
         t
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  1   Authorization for the Release o Medical Inforn atic n signed by P aintiff                  Steavens s letter

  2   directed Plaintiffto return the complc ted fnrn s ta Human Resources by October 12 2018
  3            71
                         Cln Thursday Octaber 11 20l 8 Hinkle sent an ernail in reply ta Plaintiffls fJctober
  4   9 20 i
                emaii addressing 5 categt ries of Plai tiff s concerns As to two of the categories Hinkle
  5
      eontirrned Plaintiff had eornplain d at out safety issues and she assured PlaintiFfthosa cancerns
  6   were being addressed
  7            72        GTr ith regard to Ptaintiff s internal job search Hinkle s October l l 2fl181etter

  8
      summarity cancluded that she coutd not cc rroborate Plaintiff s ciairn that she had been wrongfully
  9   denied a posicion As Q tl t complai ts about Raul Hinkle affered tfl change Ptaintiff s

 IO   assi   nment to    limit   her interaction with the driver             At the end her mail Hinkle v rr te

 11            Absent an indicatian from you that you will continue in your rale or have found
                                       the
               another position at
                                               ompany I wiil ljave no chaice but to terminate your
 IZ            emplt ymen t as of l0 1 l

 13            73        Ylaintiff respand d by email later that same day cammenting on the five areas of

 14   concern as lai d    ut in Hinkle s email           Plaintiff s October 11 20I8 email noted Hinkle s responses

 2S   regarding the safety canc ms but pointed out that Hrnkle s propased solutions still would not

 16
      protect Piaintiff from blazing grills personnel at the customer s l catian bumpin intc the hand
 l7   truck or from slips and      falls     and   from being sexuaIly harassed on the rou e        Plaintiff alsQ clearly
 18   ehptained that during her interr ai job search she was informed by Martinez that t ere were a

 19   n zmber c f ful1 time positions which after Martinez spc ke with Hinkle were changed to


 20    temporaiy positions

 21             4        In her October 11 2018            niail   Plaintiff identified herself as a Whistleblower    anci




 22   asserted she   had been subjected to          a   hostil   work     nvironn enY and   retaliation   Piaintiff


 23   concluded her emai stating in part
 24            I am not refusing to continue in my rale Despite my continued concerns about my
               safety as well as the safety of the other R der employees and the general public for
 2S            the reasons I previously expressed as we11 as my ant cipa ion that I will be
               subjected to furthen c stile behavior fram niy co work rs I need myjob Because
 26            you have been unable ta place me in an alternate pasitian pLease let me knaw what
               time and day you have scheduled me to return to my work assigt ment
 27


 28              5       In r spanse to Plaintiff s Jctaber 11 201 S email on Friday Clctaber 2 2U 1
                                                                     12

        NATASHA S CIGGINS CONIPLAINT FOR D 1VIAGES AND IN JUNCTiVE    RELIEF                                           Paper
                                                               Yrintedon Reeycled
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     1    Hinkle called Plaintift S cell phorre and left a uoicem 1 intlicating she was going to be aut dithe

     2    office for trva c eeks due to a scheduied sur ery As she vanted to make sure there was a very
     3
          clet r record regarding her cc rnp aints ar tl jc b tatus Ptaintiffresponcled ta Hinkle s eall by asking
     4
          Hink e t reply by ernaii Having received no reply by ernail by the end af thaf day Plaintiff sent
     S
          another email to Hinkle stating

     6              Please let me kriow who the V P is yc ur leaci or whomever is in lieu of yaur
                    absence far sitrgeryf Thus I can have feedback regarding my cancerns and not
     7
                    extend beyond what s narnlaliy provicied as far as time I knaw it s been a concern
                    for you     Again I need to l now tivhezl I sho ld report tc worl
     S

     9              76        On I onday October 15 2Q 18            Hinkle            nded   ta Plaindff s 4ctober 1      email
                                                                                resp

 1        stating     I was out for part of a l ciday I wi11 call yc u tt clay sa we can discuss next steps
 11                 77        C n Qctober I S and Qctober C 6 Hinkle called Plaintiff s cell phane a number af

 12       times                     t rom a different number than the one she previously used
                    eyen ance
                                                                                                             erhaps hoping she
 13       would h ick PlaiY tiff inta having a verba contFersatian xather than putting her response in

 l        w riting Plaintiff nd Hint le also exchanged emails over these two days with Plaintiff repeatedly

 15       but politely asking Hinkle ta respond by email

 I6                 78        Ninkle never resp ndeci substantively by elnail as P aintiff tivas requesting Instead
 l7        n October 19 2018 Hi lcle sent the faltowing c nail

 18                 Natasha since I am still traveling and you have not wanted ta tallc live I an
                    sending this tetter vi email
 19


 20                 79        Attached to Hinkle s email was an C ctt t er t 9 201 x tetter              hereby Plain iff was

 21       notified her einployment was terminated as af October 19 201 S The termination letter confirmed
                                                                                            tao physically   strenuaus         2 she
          the foltowing         l    Flaintiff had reparted that her         t siticm was
 22

                                                                                                               she   c   uld   da      3
 23       had reported that          the repetitian c fmoving       roduat all    day was not sotnething


 2        she raised conc rns about the vehicle and equipment she used at s rork and 4 she raised
 25         concerns about inappropria e camments made to her while perfarnling her job duties which
     26   Defendants nated were investigated and substantiated in one instance
     27              80        Plaintiffres anded to Hinkle s det ber l 9 2 t8 email and termination letter
                                           3Q minutes    s atin   ila part
     28    witltin apprc ximately

                                                                         t3
                                                                                                     INJUI CTIVE
              NATASHA SCOGGINS                       CC NIPLAINT FOR DAMAGES AND                                           oRELIIFaFFcr


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                                                              #:30



      1
                     There are several ways to touch b ase You mentioned you would be out as of
     2
                     Friday Iast week for surgery and for 2 weeks khereafter with limited phone access
                     I followed suit with your voicemail of unavailability and it was cohesive with me
     3
                     not having phone access this week You cail certainiy access me via email Pve
                     penised your attachment E hich is far apart from my concerns and further support
                     my concerns ofretaliation
     4


     5               81
                                On Wednesday Novem er 14 2018 Plaintiff received a FedEx from Defendants
     6
           which included among other documents a Notice ofTern ination stating her employment was
     7
            terminated due to not being able to perfonn duties that are a requirement of the position you were
     8    hired on


     9                 2
                               Also included in the November 14 FedEx was a Notice to Employee as to Change
  10      in Relationship which indicates Plaintiff was laid off discharged on October 20 2018 in one
  1 I     section     but later states        On 10 20 i 8 employment status changedJwill change as follows
  12      Involuntary resignation
  13                 83        At the trme her employment enc ed Plaintiff s
                                                                             hourly rate was         18 50


  14                 84        AT aIl relevant times Plaintiffwas an employee covered by Government Code
  l5
          sections 12940 et seq prohibiting discrimination harassment and retaliation in he workplace
  16                85
                               At all relevant times Defendants were employers within the meaning of
  17      Goverament Code section 12926 d and as such were barred from discriminatin                     against

  18      retaliating against and harasszng employees as set forth in Government Code sections 12940 et
  19      seq


 20                 86         Plaintiff led a timely Complainf of Discrimination with fhe Departraen of Fair
 21       Employment                            DFEH
                                Housing                  on   etober l S 20l 9 and received a   right to sue letter dated

 22       the same date

 23                 87         Plaintiffttas exhausted all her administrative rernedies

 24                                                     FIRST CAUSE OF ACTIOI

 25                        WRONGFUL TERMINATION IN VIOLATI                          IV OF PUBLIC POLICY

 26                                                        Against All Defendants

 2                  88
                               Plaintiff re al eges and incorporates herein by reference paragraphs 1 through 87
 28       inclusive as though fully set forth l erein
                                                                     14

             NATASHA SCt7GGII 5 COMPLAINT FOR DAMAGES AND IN TUNCTIVE RELIEF
          C liant Fi leslKYi E01 043100072823 W PD                                                       p   ntedon   aP ycicd Papor
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      1                    89
                                      It is against the ul l ac policy of the state of California for an eniplayer to terminate
   2      an emplflyee ecatrse that empic yee reported suspicions of illegai conduct to her e ployer

   3                llie                      C ou t 19
                c           v
                                 Sup ric                        228 Cal App 3d 1 I 17 1127

   4                       90        It is against the pubtic paticy of the state af Califarnia for an employer tc retaliate
   5      against an enlployee ft r ciisclosin                   informatior or because t ie employer believes that the

   6
          emptayee disclased or may disclose infar 7iatian to a government or law enforcem nt agency to a
   7
          persan witti authoriry over the employee o another mptoyee wha has the authority to investigate
   8      discaver              or correct    the violakion or noncanlpliance or for providing inforrnation to
                                                                                                                                r testifying

   9
          befare any ublic bt dy canducting an investi ation hearing ar inquiry if the emplayee has
  10      reasort ble cause to be ieve t at the infcrrmatian disc oses a vic latron of state or federal statute or a

  11      ti   iolatit n c t c r noncon              liance u ith a 14ca1 stat    c r   feclerat ru e car re    Iation regaa c less of

 12       whether disclosin                  the    inforn ation is part   fthe employee s job duties              Lat ar Cc de

 I3            1102 S b


  t4                       91        It is againsT the public poIicy ofthe State of Califor ua for an ernployer to retaIiate
  t5
          against or te minate an emplayee for refusing to perf4rm wark which violates the Labor Code any
 16
          accu rational safety or h alth standard any safety order ar where there rs a real and apparent
   7      hazard to the emplc yee or her feliow emplayees                             Labc r Code         6310 6311


 l 8                        2        I is againsE he public policy t f the state c f California to terminate an ernployee
 19       because               e employer xegards the employee as            disablec        Governmenz Code          12940 a


 20                        93        It is against th public palicy nf the state of California for an employer ta harass

 21       dischar e expel or othenvise discriminate against any persort because the persan has opposed any

 22       practices             forbidden under the Fair Emplc yment                  Hc using Act         incluciing sexual harassinent

 23       hostite work environruent or discrimination based c n 6eing regarded as disabled                                 ar because the


 24       persc n          has    led a complaint                 G   vernment Code          12 40 h


 25                         4        It is a ainst the public pc licy c f the state c f California ft r an employer to d scharge
 26       formaily discip3ine or c therwise di criminate against an ernployee wha discloses the information
 27       about dn employer s working conditions                           Labor Cod         232    c j

 28                        95        It is against the public policy of the State of California for an employer to te tninate
                                                                                 15

               NATASHA SCOGGTNS CfJMPLAINT FQR DAMAGES AND INJUNCTIVE R                                                                     LIEF
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     1   or otl erwise     discriminate agaiizst an em loyee because she has a                                         which is
                                                                                              physieai
                                                                                                         disability
         defined as including
                                                4 Being regarded or treated by the ernployer or ather entity covered by this
     3   part as   havin          r having had an physi al ec nditian that makes achievetnent af a rnajor life

     4
         activity di icult                     Being regarded c r treated b J the employer r c ther entity cavered by this part
     5   as having ar having had a ciisease disarder conditian cosmetic disfigurement anaTomical loss

     b
         or he lth inYpairment that has tio present disabling ef ect but may Faecame a physical disability as
     7   descrihed i i paragraph 1                        or    2    Gov rnment Cade   2926 ru j 4   5


     8             9             Defendants were mc tivated to tertninate Plaintiff s employment an               rounds that

     9   violate California statutes and public poticies as set fc rth above

 IO                97            As a proximate resuit of Defendants w rongf zl conduct Plaintiff suffered

  I I    substantial Iosses in earnings and ather employrnent benefts in an amount according to prcx7f at

 12      ihe time of trial



 13                98            A     a fw tl er direct and legal resu t of D fendants aets and conduct Flaintiff has


 14      been caused to and did suffer and ct ntinues to suffer severe emc tianal t nd mental distress

 15      anguish hu iiliation embarrassment fright mental and physical pain discomfort and anxiety all

 16      to her c amage in an amo nt according to proof at the time aftrial Plaintiff does ncat know at this
 17      time the exact dur tion or permanence of aid anjuries but is informed and believes and thereon

 18      alleges that some if nQt a11 c f the injuries ar reasc nab y certain tc be permanent in character

     9             99            Ptai tiffhas bcen generally damaged in an am tuit wfthin he jurisdic ional limits
 2Q      of ihis C urt

 21                 100          In doing the acts herein alleged Uefendants and each of thern acted with

 22      oppression fraud malice and in canscious disregard of Plaintif s rights and Plaintiffis therefare

 23      entitt d to punitive darnages in an an ount according to proaf at the time of trial

     4              101          Plaintiff has alsa incurred and continues tc incur attomeys fees and Iegal expenses

 25      in an amount accc rding to proa at the time of trial

 26      Ill



 2       J


 28      li
                                                                              lb

               NATt1SHA SCQGGINS CQMPLAINT FUR DAh1AGES AND INJUNCTIVE R LIEF
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     1                                             SEGOND CAUSE 4F ACTION

     2                                             UNLAWFUL RETAGIATIOtV

     3                                                   AgainsY All Defe dants

     4              102       Plainriif re aileges and incorporates herein by reference paragraphs 1 thraugh 87
     S   inelusi te        s thaugh fu11y set fc rth herein
     6              103       It is    an unlawful emplQ      nent practice       fJor any emp oyer       ta discharge

     7
         ex el or othenvise discriminate against any person because the person has oppc see any practices
         fc rbidcien under this part              Gov rnicnent Code        I2940 hjj

     9              104       Tit1e 2 CalifQrnia Code of Re ulations section 728 7 8 defines unlawfut retaliation

 10      as follaws


 11
                    It is unlawful far an employer or other covered entity ta demote suspend reduce
                  fai ta hire or cansider far hire fail t give equal cansiderati n in making
 12
                  employmenr decisions fail to tre t impartia ly in the cantext ofany
                  recommendations for subscquent em l yrnent which the ernplayer ar vther covered
 13
                  entity ma ma1 e adversely affect wori in cc nditions or otherwlse deny any
                    employment benefit to an individual because that individual has opposed practi es
 1                prohibited by the Act or has filed a complaint testified assisted Qr pariicipated in
                  any manner in an investigation proceeding ar hearing canducted by the
 I 5              C      ntnissi n or Department or their staffs

 16                 ifl5      It is unlawful for an empl4yer to retaliate a ainst       an employee for disclosin

 1 7     information c r because the employer believes that the employee di closed r r may c isclose
 1       ir for7aaation to a g vernrnent or law enfaro ment agency ta a persan witt authority over the
 19      enlployee or another emplayee wha has the authority to investigate c iscover or correct the

 2Q      violation or nonc rnpliance r r for pr viding inft rmation tu or testifying befbre any public body
 21
         canducting an im escigation hearing ar inquiry if the em loyee l as reasanable cause to believe
 22      ti at the information discloses a violatian of state or federal statute or a violation of or

 23      nanc mpliance with a Iacal scate or iederal rule ar regulation regardless of uhett er disctosing

 2       the infc rmation is          art of the employee s   job duties      L abc r Cvde   1 t02 S b   em hasis added


 25                 10        During her ernplc yment Plaintiff enga c d iri he following 1e ally protected
 26      activity


 27                             1        Cc znplained she was eing subjected to a s xually hostile wor1C

                                         enttira unent


                                                                     17

            NATASHA SCt GGINS CONtFLAINT FOR DA MI GES AI D INdI TNCTIVE RELIEFPaper                        Printed on Recycled
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      l                           2          C omplained she rvas beind r ta iate against

      2                           3         Complained she was being required ta work in unsafe w rk conditions
      3                           4
                                               amplained she vas being sexualty harass d and
                                  5         Lharacterized herse f as a         istle6 otiver

      5               I07        Defendants rere motivazed to retaliated ag znst Plaintiff includ ng placiz g Plaintiff
      6   art unpaid leave and terminati xg Plaintiff s em layment on grounds that violate the Government

      7   Code and the Labor Code

                      148
                                 Defendants un lawfi ly retaliated against Plaintiff by terminating Plaintiff s
      9   empl vment wirhin days of her mast recent protected complaint and within weeks af Plaintiff s

  10      tirst pr tected complaint


  i                   104        As a proximate resuit of Defendants wn ngfu ct nduct P aintiff sut ered

  12      substantial losses in earnings and other employment benefiis in an am unt according ta pro f at
  13      the tune of frial


  14                 110         As a further direct and Iegal result of Defendants acts and conduct Plaintiff has

  15      been caused to and did s ffer and continues to suffer severe emotional and mental distress

  16                   hurniliation                          t fri ht m                            discornfort and a
          anguish                          embarr ssinez                  ntal and physical pain
                                                                                                                           iety all

  17      ta her dama e in an atnaunt according to proof at the time af triaL PlaintifFdoes not know at this
  I8      time the exact duration or                ermanence c f saici injuries but is infc rtned and believes and theret t

  I9      alleges that some if not a1I c fthe it juries are reasonably c rtain tc be permanent in character

 2Q                  111         Plaintifthas been generally damageci in an an ount u ithin the jlirisdiciional lirnits

 2I       of this Court

 22                  112         In cioing tbe acts herein alle ed Defendants and ach of them acted with
 23       oppression fraud malice and in ccanscious disregard af Plaintiff s rights and Plaintif is therefare

 2        entitfed to aunitive damages in an arnount accarding to roof at the tirne of trial

 2                   I 13        Plaintiff as also inc rred and continues t          incur attorneys fees and legal expenses

 Z6       ir an amaunt accc rdin              to proofat the time oftnai


 27                  114
                                 In additipn to other penalties I efendants are liable for a civi penalty not exceedir

 28         10 000 far each violation of Labor Code sectian 1102 5 as set forth in Labor Code sectian
                                                                          18

             NA      ASHA SC DGC TNS COMPLAINT FCJR I7AN AGES AND INJUNCTIVE RELIEF
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                                                          #:35


     1   1102 5 f


     2                                              T IIRD CAUSE QF ACTION

     3                  DISCRLMTNATIDN 3ASED C1N BEING REGARDED AS                                          DISABLED

                                                       t Against A11 Defendants

     5            115
                           Plaintiff r alleges and inco porates herein by reference paragraphs I through 87
     6   inclusive as thaugh fuily set forth herein

     7            116
                           As atlege i herein and in violation of Government Cod s etions 12940 et seq
     8   DeFendants discriminated a aznst Plaintiff E ecause Defendants regarded Flainriffas disahlec                                in

     9   that etnp c ye s who were not regarded as disabled were treaTed l etter than Plaintitf and were nc t

 10      disciplined and or terminated far false and pretzxtual reasons


 11              1 I7      P aintiff al eges that because Defendants regarded her s being physicatly disabled

 12      she suffered numernus adverse em            loyment actions including                  1    unwarranted criticism       2


 I3      stricter scrutiny of her performance than that of athers                      3 bein placed ot an unpaid leave ant

 Z4      4   termin tion ofher ernpinyrnent            Yar7owitz v      L Oyeal IISA           Inc     20a5 36 Cal 4th 1028

 1       I Ob0 1062 solieitatian c f ne ative information unwarranted and publie diseiptine unwarranted

 16      criticisrn demeaning criticisrn in front of 4thers hei htened respQnse t a aliegettly poor

 17      perfoimance implied threats oftern ination actians ihat threatened to derail career cambined


 1       creaCe adverse employment actions             Wic emar2 v         d    el   Mart Str r e s Ine   1 I th Cir 1998   14t F 3d


 19      1453 1456 written reprirnands and st licitation Qf negative comrnents by cowc rkers constitut d

 2Q      adver   e emplayment actions            Yart of v    Th   nac s       9th Cir 198          809 P 2d 1371   1377


 21       undeserved per ormance ratings


 22               l 1      The circurnstances of I laintit s termination gives rise ea an infez ence af unlawfi I

     3   discrimir ation because Defendants regartied Plaintiff as physically disabl l The air

 24      Employment          Housing Act          FEHA       pr tects not only those who have disabilities but those

 25      imper nissibly regarded as disabled A person is regarded as disabled if l a covered entity
  26     mi takenly elieves that persan has a physical imp irment hat substar tially limits one or more life
  27     activities or 2 a coverec entity mistakenly beli Tes that an actual nonlimiting impairrnent limits
  28     ane or more life acCivi ies Discrixninatioa based on an emplayer s bel ief that an ernployee is
                                                                       19

             NATASHA SCt GGINS CQ141PLAINT FOR DAMAGES AND INJUNCTNE RELIEF                                           Vrinted nn Recycled Paper
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     1   disabled oecurs           hen an emptoy er decides that p rceived timitations Ur impairments make

     2   ir dividuals less ideally suited far a jab            Covenunent Coc e      l 2926 j   3   Rent v Carn ton

     3    t999 73 C al App th 14Q7 141b

     4              1 19       Detendants terminated Plaintiff s employment within weeks of D fendar ts first

     5   assurnption that Plaintif suffered fram at least c Y e physical disability
     b              120       As a praximate result of I efendants wron ful conduct Plaintiff suffered

     7   substantial losses in earnings and other employment benefits in an atnc unt accordin to praof at

         the tirne oft ria1


     9              IZ 1       As a further direct and egal result of Defendants acts and conduct Ptaintiff has

 I       l een caz sed to and did suffer and cont nues to suffer severe emotional and mentai distress

 1l      angursh humiliation embarrassment fright mental and pt y ical pain discomfort and anxiety all

 12      to her dama ge in an amount according ta praof at the tirne of trial            Plaintiffdo s nat lcnow at this

 13      time the exact dw ation or p rmanence of said injuries but is infprtned and believes and tttereori

 14      3lleges that some if not alI of the injuries are reasonably certain tc be pe rmanent in character
 15                 122
                              Plaintiff has been g nerally damaged in an amount within the jurisdictional limits
 1       ofthis Caurt

 17                 1   3     In dc ing the acts herein alteged Defen ants and each f Chem acted with

 18      oppression fraud tnalice and in conscious disregard of Ptaintiff s rights and Plaintiff is therefc re

     9   enkitled tt punitive damages in an ar aunt accardin to pror f at the tirne of trial

 24                 124       Plaintiff has also incurred and continues to incur atkorneys fees and xegal e penses

 21      in an aiilount according ta proof ak the tirne of trial

 22                                                    FOURTH CAUSE QF ACTION

 23         FAILURE T4 PREVENT DISCRIMINATI                               iV HAFtA SMENT AND RETALIATI41

                                                             gainsF AIl Defendants


 2                  3 25      Ptaintiff rc alleges and incorpc rates herein by refere ce paragraphs 1 through 87

 26      and 11 G through 124 inclusive as thQu h fully set fcarth erein

 27                 126       Employers have an affirmative du y to prevent harassment Once Defendants were
 28      on natice that Plaintiff cc mplained af a sexually hostile work environment sexual harassrn nt and
                                                                      q

            NATASHA SGOGGINS COMPLAINT FOR DAMAGES AND INJUNCTI E RELIEF
                                                                                                          peintai an Recy ted Paper
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                                                               #:37



  1       retaliation       they were re uired ta        zake al1 reasanable steps necessary ta prevent        harassment


  2       from occurring              Gc vernment Gode        1294 l k


  3                  127        Defenciants were aware the Plaintiff reported she was subj cted to sexua
      t   harassrnent a hc stile work enviranment and retaiiation but fai ed ta take immecliate and

  5       apprap iate c         rective action



  6                  128        As a proximate result of Defendants wrongful conduct Plaintiff suffered

  7       substantial lasses in earnings and ather emplo nent benefits in an aniaunt according to praof at
  8       the time of trial


  9                  1 9            s a further direct and legal result of Defendants acts a1 d cc nduct Plaintiffhas

  0       been caused to and did suffer and continues to suffer severe emvtianal and mental distress

 11
          angu sh humiliation embarrassment fright mental and physical pain discamfort and anxiety al
 12       to her   damag       in an amount according tc         r of at the tirne of trial   Plaintiff does not know at this

 I3       tirne the exact duration or permanence of said injtzries btzt is inf rrnec and believes and thereon

 J4       alleges that some if not all af the injuries are reasonably certain to be permanent in character

 IS                  13        Plaintif Fhas been generally damaged in an amount wifhin the jurisdictional lirnits

 l6       of this Court


 17                  131       In dc ing tl e acts herein alle ed Defendants and each of them acted wi h

 18       oppression fraud nlalice and in conscious disregard ofPlaintiff s rights and Plaintiffis therefore


 19       ezztitled ta punitive damages in an amount according to proof at the tirne oftrial

 20                  I 32      Plaintiff has alsc ncur ed and continues t          incur attorneys fees and lega3 expenses

 21       in an ainount accordin            ta proof at the time af trial


 22                                                      FIFTH CAUS           lF ACT ON

 23                                 FAILUTtE TC         PAY STA UTC7RIL1           2ANCl      T D t AGES


  4                                                         Against AIl Defendantsl


 2S                  133        Plaintiff re alleges and incoi arates herein by reference paragraphs 1 through 87

 26       inciusive as though fully set forth herein

 27                  13         Piaititiff was no paid far the one hotu she was req ired ta pertc rm a rt ad test

 28       during the screening process prior to 13er official start date and tiVas nat paid premium pay on the
                                                                         21
             NATASHA SC                 GGINS C D1 IFLAINT Ft R D MAGES                       ND INJUNCTIVE RELIEF
                                                                                                               Priatcd   on   Recyeled Papex
                          YCEU114   310bUi2823 VdPD
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                                                                    #:38



         1
             occasions she worked rnore than 12 hours but was not provided a secand meal periad
         2               13
                                  As such for this claim PCaintiff is entitted tt vages and premium pay at the rate of
         3      I 8 54 per haur
                                         lus inter st penalties litigation costs and attarneys fees
         4              136       Plaintiff tivas also entit ed to be paid c ut a 1 accrued pa d time off at the time c f
         5   terrninaiion


         h              l 37      Qn information and belief Plaintiff hac accrued paid tin e off Thich was not
         7   included in her finai paycheck

         S              138       As a prc ximate resulk of Defendants unlawful acts Plaintiff has been deprived of

         9
             wages and remium pa and other compernsation in amounts according to proaf at the tirne of trial
     l0                 I39
                                  P ain iff has b en general y damaged in an amount within the jurisdictional limits
     1       of t is Gourt

 12                     140       Pl intiff has also incurred and continues to incur attorneys fees and Iegal expenses

 I3          in ai    rnount accc rdin           to proaf at the tinze oftriai


         4                                                     I   TH CAUSE OF ACTION

 I S                            BRE AC 1              F EXPRESS VERBAL AND WRIT TEN CONTRACT

 t6                                                                Against All Defenda ts

 i7                      4
                                 Ptaintiff re al eges and incc7rporates herein by reference 7ara raphs 1 throu h 87
 l           inciusive as thflu h fully set f rth herein

         9             142       Prior zo and imrnediately after her hire date Plaintiff r as prc mised he would be

 20
             reassrgned if she had any challeng s wit her assignment inclt ding becattse it u as hard work
 21                    143       D spite these promises when Plaintiff repeatedlv requested reassignment
 22
             Defendants breached their cantractual abligatians by refusin to t ansfer Plaintiff to a different
 23          posifion



 24                    244       Further though Defendants promised Piaintiff in wri ting that insteac of being

 25          t rminated she coulci return to her positic n when Plain iff elearly stated she would return to her
 26           osition Defendas ts nevertheless terminated her ernplflyment


 2                      145
                                 Plaintiff reasonably relied c n the promises mac3e ta her by Defendants
 28                     146      Based an the faregaing there existed express contracts benveen Plaintiffand
                                                                             2

                NA 1 ASHA SCOGGINS COMpLArNT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                            #:39



      i   Defendants bc th in writing and verhal relating to the terms and conditians af Plai tiff
      2   employment



      3               I47       Plaintiff perfurmed all conditions cc venanis and prc nised to be performed c n

      4
          Plaintiff s part under the express contracts exc pt for those conditions covenants and promises
      5
          excused by reasans of the br ach f the ir Yplied contract by Defendants
      6               14A
                                Defendants and each of them breached the express contracts by 1 refusing to
      7
          transfer Plaintiff to a dit eeent position and 2 not permitting Plaintiff to retum to her pasirian as
          an alternafive tc bein         terminated

      4              1     9    As a prc xirnate resuit 4fDefendants t reach af the express verbal and wt itten

  10      contra    ts t ith Plaintif     Plaintiff has been damaged in that Plaintiff has stzffered and continues to

  12
          sustain suEastantial losses in earnings arzd other mplayment benefits in an amount accc rding to

  12      proof at the time of trial


  13                                                 SEVENTH CAUSE OF ACTION

  I4                                                    PRCIMISSORY FRAUD


  l5                                                       Against   1l Defendants


  1                  IS
                                Pfaintiff re alleges and incorporates herein by reference paragraphs I through 8 1
  17      inc usive as though fu11y set fQrth h rein

  1                  151        Pric r to and immediately after her hire date Plaintiffwa p amised she would be

  19      reassigned       if she had any     challenges    vitl her assignrnent including because it was hard work

  20                 152        Despit these pramises when Plaintiff repeatedly r quested reassignrnent

  21      Defendants breached their cantracival obligatians hy refusing to transfer Plaintiff to a different

  22      positiun



  23                 153        Further thaugh Defendants prt mised Plaintiffin writin that instead of being

  2       terminated she cc uld return to her position w en Plaintiff cl arly stated she would retuzn to her

  25      positic n Defendants nevertheless terrninaked her employment


  26                 154        De endants represented the above prornises as true but in fact the representatians

  27      were false


  28                 155        At the time Defendants made the representatians t iey actually had no intent to
                                                                     23
             NATASHA SCOGGINS                      COMPLAIPJT F CIR DAMAGES AND INJU ICTIVE RELIEF
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                                                             #:40



     1   abide Y y their pranuses ndlc r Defenclants knew that their representations were faise at the time
   2
         they made the r presentaticns and r made the re i esentatians reck essiy and without regard for
   3     their trutl


   4               156          In making these pramises ta Plaintiff Defendants knew or should have known that

     5   these promises wauld induce Plaintiff ta accept and maintain employment with Defendants

   6               157          At Che time hese r pres nt tions were made Plaintiff b        iev cf them to be true

   7                158         In reliance or these representations by Defendants Plaintiffaecepted employrnent

     8   with Defendants and erformed and continued tc perform aIl of her work in an exen placy manner

     4             159          Plaintiff reasonabty relied t n D fendants promises arrd repr sentations as set fortk
 l0      abotFe and w s induced by those promises ancl re resentatians ta accept and maintain employment

  I 1    with Defendants and to perform and continue perforrning lzer duties far Llefendants in an

 12      ex rnplary manner


 13                160          As a proximate result of Defendants failure tc perfc rm acc rding to the promises

 I4      and representati ns which they made to Plaintif             and P aintiffs reliance an thase prcmises tfl

 IS      Ptaintif fs detrirnent Plaintrf suffered substantial lasses in earnings ar d c ther employment

     b   b nefits in an arnc unt accarding to proof at the tirne af trial

 17                 161         As a further direct and le al result c f Defendants acts and canduct Plaintiff has

 18      been caused to aY d did suffer and continues ta suffer s vere em tional and rnenlal distress

  l9     an uish humiliation embarrassment fright rnental and physical pain discamfort and ar xiety aIt

 24      ta her d snage in an atna znt accardin to prQof at the time of trial            Plaintiff does nc t lcnow at this

 21      tirne the exact dezration or pern anence of said injuries hut is informed and believes and thereon

 22      alleges that some if not all of the injuries arz reasonably certain to be pertnanent in character

 23                 1 b2        Plaintiff has been enerai y t rnaged in an amount within th jurisdictional iimits
 24      af this Court


 25                 163         In doin     the acts herein alleged Defendants and each af them acted with


 2b      oppression fi aud malice and in eanscious disregard af Ptaintiff s rights and Plaintiff is therefore

 27      entitled to punitive darna es in an amaunt acc rding ta pr of at the tirne of trial

 2                   64         Plaintifflias also incurred and c   ntinues   to incur attorn y   fees at2d 1ega1 expenses
                                                                    7

            NA I ASHA SCC GGINS C01rIPLA INT FOrR D MAGES AND INJUN TIVE RELIEF
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     l   in an amount according to prc of at the ticne of trial

     2                                             EIGHTH CA TSE C1F ACTIQN

     3           F ILURE Tfl PR VIDE A DEQLIATE MEAL PERIUDS AND REST BREAitS

                                                           f     f31S   It        f ll jilSl 5

     5             165        Flaintiff re alleges and inccarporates herein by reference paragraphs E through 87
     6
         inclusi e as thou h fulty set forth herein
     7             166        Piaintiff is entitled to premium pay in the arnount of the equivalent of               hour of pay
     8   for each day she did not take
                                                  second 30 tninute duty free rneal period within the first l O l ours of
     9   her work             Labar Code         226 7 b
                       day

 10                1
                             Plaintiff s trip sheets shaw at leasf 2 days that she worked more t an 12 hc urs

 11      withcrut a se oz d zneal        eriod


 l2                168       Plaintiffs paystubs cio not reflect the payment af any premium pay
 13                169       B cause Defendants failed to af ord a second meal periad a required hy law they

 14      are liable ta Plaintiff for 1 haur of addirional pay at the regular rate of compensation for each

 IS      occasion         hen such meal p z iods were nc t provided pursuant to Labor Code sectian 226 7 and the

 16      Wage drders

 t7                170       As a proximate result of Defendants eanduct Plaintiff is entitled to premium pay

 f8      as set f rth a ove in an amflunt according tc proof at the time of trial

 19                171       Plaintiff has been generally damaged in an arnount u ithiri the jur sdictional limits

 20      af this Court


 21                172       Plaintiff has also incurred and continues to i ncur attarneys fees and le al expenses

 22      in an amount according to prac f at the time of trial

 23                                                 NINTH CACISE OF AC                       IC N

 2                            FAILURE TQ TIMELY F Y                           AGES UP            N TERMINATI   N


 25                                                        Against All Defendants

 2b                l 73      Plaintiffre alleges aud incotpflraies herein byr reference paragraphs 1 thro rgh 87

  7      l34 thrvugh 1        0 and 166 through 172            inolusive as though fully set fo h herein

 28                174       I abor Cade section 201 requires nn employer tvha discharges an ernpIoyee ta pay
                                                                             zs

           NATASHA SCt GGINS                     C0111PLAINT             OR DAMAGES AND 1NJLTNCTIVE RELIEF
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                                                                          #:42



      1
          com ensation due and owin to saic employee irnmediately upon discha ge
      2                       175           Given that Plaintiff s employment was terminated by ernail on actober 19 2018

      3   she was n4t                   rovided with        h r tinal paycheck       upon   termination       In fact Plainriff did nat receive

      4   her final payc ec unt il October f 2Q18

      4                       176           Labc r Cnde section 243 provictes that if an employe willfuliy fails to ay
      6   com ensatian promptly upon discharge or resignation as rec uired by section 2Q1 the employer is

      7   liabl for waiting time penalties in the fc rrn of continued compensation for up to 0 days
                              l 77          Plaintiffhas also incurred and canfinues to racur attorneys fees and legal expen es

      9   in an amout t according to prc of at the time af trial
  l                                                                   TENT I CAUSE 4           ACTION


  l1                          FAILLII2 E TO TI IELY PROVIDE EMPLOYEE PEI2SUI NEL RECaRDS

  12                                                                       Against   1 L efendaz fs

  13                          17            Plaintiff re alle es anci ir corporates herein by reference paragraphs 1 throu h 87
  14
          inclu ive as thau h fully set forth herein
  15                       179              If an employee or applicant signs any instrurnent relatin to the obtaining ar holding

  16      of emplayment                       he shall be given a copy          f the instrument     upori   request     Labor Code            432


  17                       180              Within 30 days ot submitting a written request every employee has the right to a

  18      rec       ive a              y f t1 e personn l r cc rds h r emplayer rnaintains relating tc che emplc yee s
  19      pertoirnance or ta                        any grievance concerning the e nployee            LabQr Cc de 51198 5 a


  20                       18l               The fa lo ving cateaories of records are defined as personnel records cuithin the

  21
          meaning of Labar Cude secti                            n   1 I98 a   those that are usec or have been used to determine that

  22      employee s qualit catiorls for emplt yment promotion additional compensatian or termin tion or

                                                             Yfrellpvirat Health Netwrn ks     Inc        Si per ipr Cozrr t   1997        9
  23      other      disciplinary action                                                              v




  24
          Cal App 4th 110
  25                       182              On January 8 2 19 Plaintiffs ct unse sent a letter ta Defendants rec uesting

  26      cc pies t           f Plaintift s personnel fi e and earnings statemen                     as well as ali d cuments Plaintiff

      7   signed



 2S                        183              Although Defendants respanded and produced variaus responsive docttrnents by
                                                                                      Zb
              NATASIIA SCOGGINS CO YIPLAINT FOR DAMaGES AND INJUNCTIVE RELIEF
          C lient    itti s   K    Lf 3 f       fl04728 3 Wk D
                                            rtlb3                                                                                Prtnred   n   Recye   ed tsaper
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                                                           #:43



      1
          email on January 31 2019 the documents produced by Defendants d id not include all documents
      2
          Plaintiff signeci or all dacuments in Plaintiff s personnel file incCuding but not limited to a
      3    Workplace Investigation signed by Plaintiff P aintiff s October 19 2018 terminafion letter the
      4
          Notice to Employee as to Change in Relationship Plaintiff s Trip Sheets Defendants Employee
      5   Handbook anly produced Acknowledgment on page 1 I4 a different version af Defendants
      6
          Employee I Iarcdbook only produced Acknowledgment on page 27 Defendants Vacation Policy
      7
          Addendum for California Based Full Time Employees only produced Acknowledgrnent page
      8   and Defendants Attendance Poficy only produced page 4 of 4

      9            184       Because Defendants failed to a6ide by section I 198 5 a they are subject to the
  10      provisions of Labor Code section 1198 5 k which states

  1                If an einployer fails to permit a current or former employee or his or her
                   representative to inspect or copy persannel records within the times specitied in
  12               this section or times agreed to by mutual agreement as provided in this section the
                   current ar former employee or the Labor Commissioner may recover a penalty of
  13               seven hundred
                                  fifty dallars 750 from the employer

  I4               185
                             Plaintiff is also entitled to attorneys fees and litigation costs for instituting this
  15      actifln pursuant to Labor Code section 1198 5 1


  1b                                              ELE   ENTH CAUSE OF ACTION

  17                                   VIOLATION OF LABOR CODE SECTION 6311

  18                                                    Against All Defendants

 19                186       Plaintiffre alleges and incorporates herein by reference paragraphs 1 through 87

 20       inclusive as though fillly set forth herein

 21                187       Labor Code secfion 640U requires employers to        fiunish employmenf and a place of

 2        employment that is safe and healthful for the employees therein


 23                188       Ernployees who refuse to work in unsafe conditi ns may nat be terminated on that

 24       basis    Labor Code        6311


 2                 189       Eve y empioyex is required to furnish and use safety devices and safeguards and

 26        do every ather thing reasanable necessary to protect the life safety and health of employees
 27        Labar Code       6400


 28                190       From the beginning ofher ernployment Ptaintiff repeatedly reported that she felt
                                                                 27

            NATASHA SC              GGINS C          MPLAINT FOR DAMAGES AND INJtiNCTIVE RELIEF
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                                                            #:44



  1   unsafe entering and exiting her assigned ttuck as weil as the fact that she encountered slippery

      floars was forced tt walk by blazin hat grills and tas required to ride in a vehic e that was being
  3   driven by another emp oyee in an unsafe manner

  4             I91        Def ndants were motivated to terrninate Plaintiff s ernployment beGause Plaintiff

      refus
                ta wark in unsafe conditions and far cornplaining about the unsafe work conditions

  6             I92        By Def ndants aforesaid acts ana amissions Plaintiffhas been direcily nd legally

  7   caused to suffer actual damages including but nat limited tc loss of earnin s a d future earning

  8   capacity and other pecuniary Ic ss in an amount according to praof at the time of trial

  9             193        4s a further direct and legal result af Defendants acts and candt ct as afaresaid


 l0   P1air tiff has t een caused ta suffer a d did suffer and continues ta suffer severe emotional and


 11   mental distress anguistt hwtliliation ernbarrassment fright mental and physical pain discomfort

 12   and anxiety


 l3             I9         Plairctiff has been er erally claniaged in an amount within t he jurisdictianal limits

 14   af this Gourt

 15             195        Plai ttiff is infortnec and beIieves and thereon alleges that by engaging in the

 Ih   afor nentianed acts andlor in authorizing andlar ratifying such acts Defendants engaged in

 17   uillful malicic us interltic n l t ppressive fi aud ulent and despicable conduct a d acted in willful

 18   and canscic us disregard of Plaintiff s rights welfare and safety thereby justifying the award of

 19   punitiv and exempiary d mages in an atnount accorr ing tc proaf at fhe time of trial

 20             196        Plaintiff has also incur ed and c ntinues to incur attarneys fees and Iegal expenses

 21   in an amc unt accordin to proof t the titne t f trial

 22              l 97      Viotations of these code sectians canstitute misdemeanors each punishable hy

 23   imprisc nment in the countyjail far a period not ta exceed six rnoths or by a fine not to exceed
       S     OO Q4 c r bc th

 25    i


 26    Il


 27   IIl




                                                                28

            NATASHA SeOGGINS COI IPLAI T FOR DAMAGES AND INJCINCTIVE RELIEF                        Pcintcd vn   leci eaper
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                                    s                        #:45                    a

     1                                               TWELFTH CAUSE OF ACTION

     2                                               UNFAIR BUSII IESS pRA CTICES

     3                                                    Against A1I Defendantsj
     4              19
                              Plaintiff re alleges and incorp rates herein by reference para raphs 1 through S 7
     5
          143 through 1 4 116 throuah 1 4 l2b thrc ugh 132 13 through I O t66 through 1 2 174
     6
         through 177 17 though 185 and 187 through 197 inclusive as thQugh ttttly set forth herein
     7              199
                              During Plaintiff s employment Defendants engaged in the faltowing unlawful
     8   conduet constituting unfair husiness practices

     9                          1
                                         tcrminated P laintiff because of lzer camplaints ab ut sexua harassment in

  IO                                     violatian of Government Code section 12940 h

 1 I                           2         terminated Piaintiff because of her complaints about a hastile work

 12                                     e vironrnent in vic lation of Gc vernment Code section l2 40 h

 13                            3        terminated Plaintiff becauae of her complaints about ar unsaf e work

 1                                      environment and unsafe work conditians in violation of Labor Code

 IS                                     sections 6310 631 l and        400

 16                            4        terminatecl Plainti    because ofher refusal to work in unsafe work

 17                                     canditions in violatian of Labor Code sections 6310 6311 and b400

 l                             5        terminated Pla ntiff because they regarded Plaintiff as disabted in violation
 1                                      of Gov rnment Goc3e s ctic n 12944 a

 20                            6        subjeet d Ptaintifftc a sexuallyh stzle work envirorunent in violation c f

 21
                                        Covernnlent Code section 12940 j
 22                            7        subjected Plai itiff to sexual harassment ui violation of Crovernrnent Code

 23                                     section 1294q j

 24                            8        retaliated against Plaintiff because ofhzr carnplaiats about sexual


 25                                     harassrnent in violatian c f       v iTitn@i t   CO   SBGtiOn   Z   O   t


 26                            9        retaliated against Plaintiff because of her complaints abaut a hastile vc rk


 27                                     envirc nment in violation af Gov        nment Code section 12940 h


     8                         I        retaliated against Flain iffbecause of her cotnplaints about an unsafe work

                                                                       9
            NATASHA SCQGGINS CQ IPL                           I TF     R DAMAGES AND INJUl GTIVE RELIEF
         f tient Ril s ICYLEOItt103t 7D0 2R23 WPD                                                               Priated on Racycicd Pnper
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                                                            #:46



     1                                 er irontnent and unsafe u orlc c 1lt iti zas in violation of Lal ar Cade

   Z                                   sections 6 y Ox 6311 and 6 0

     3                        11       retaliated against Plaintif   because ofher refusal to work in unsafe work


                                       conditions in violation of Lal or Cc de sections f310 631 I and b40a

     S                        1        r   tali ted against Ftaintiffbecause    Ehey regaeded   taintiff as disabled in

     6                                 violation af    Governnlent Code section 12      0 a

     7                        23       faileci to maintain a warkplace free frarn discrin ination harassment and


     8                                 retaliation in vic atic n c f C avernrnent Code section 12940 k

   9                          14       failed to prevent d seriminatian harassment and retaliation in th           vc ckplace



  10                                   in vialation of Gavernrnertt Code section 12940 k


  1I                          IS       failed to pay Plain iffp emiu z pay for her missed second meal period when

     Z                                 she worked more than l2 hours in vic atit n of L abor Cc de sectian 22b T

  13                          1b       failed ia pay Plaintiff all wages due at the time of tesiniaation in vialati n o
 14                                    Labor Code section 20l


  I 5                         17       failed to pay Piaintiff one additianal day s wages as waiting tin e penalties

 16                                    for each day that passed betwcen Plaintiff s termination date nd the date
  17                                   Plaintiff received her final paycheck in violation of Labar Cc de seetion 203

 i8                           18       failed to pay Plaintiffatl accrued paid tima off at the time of termination in

  14                                   violatian t f Labor Cc d sectir ns 201 and 227 3

 24                           19       failed to prQvicie a safe work er vircnment in      iolation of Labc r C de

     1                                 section 6400

 22                           20       faited to pravide Plaintiff with c pi s of all documents she signed upon

 2                                     request      in violation of Labor Cad    section 432


 24                           21       failed to provide Plaintiff urith a copy of her cornplete persannel file vithin

 25                                     30 c4ays of her request therefor in vialatzon af Labor Code seetion I 198 5

 2b                           22        failed to pa 7 Plaintiff far a11 hours worked in violation af Labar Code

 27                                     sections 240 2Q2 204       nd 2197

 28                           23        failed to pay Alaintiff all ur disputed wa es due to Plainriff in viol tic n c f
                                                                     34

            N TASHr SCOGCTI IS CQhIPLAINT F4R D 4MAGES AI D INJUl1 CTIVE RELIEF
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                                                          #:47



     1                               Labc r Coc e sectic n 20b

     2                       Z       failed to provide Plaintiff witl accurate earnings statements in violation of


     3                                Labar Code sectiUn 226 a

                             2        failed ta pay Plaintii at least rninimum wage for hou s workec3 in violation
     5                                of Lah r C de sectians 202 204 and t t 9fi

     6                       26
                                     terminateci Plarntiff fQr reporting Defendants unlawful conduct in violatian
     7                                af Labot Code sec ion 1102 5

     8                       27      terminated Plaintiff hecause the believed Piainiiff would legally pursue or
     9                               externatly repc rt Defendants unlawful anduct in ir tatic n of Labor Code

 10                                   section 1102 5

  11                         28      retaliateci a ainst Plaintiff far reporting Defendants unlawfitl conduct in
  12                                 via ation af Labor Code section 1 IO2 5

 1                           29      retaliateci against Plaintif because tliey believed Plairttiff wt uld legally

 14                                  pursue ar externally repart Defendants unlarvful conduct in vicalation of

 I 5                                 Labor Code sectit n 1102 5


  16                         30      tenninated Plaintiff because she disclosec inforrnatian abaut Defendants

 17                                  work cflnditions in viaiation of L abor Code sectian 232 5


  18              200       Uefendants canduct as alleged above constitutes unlawful unfair and fraudulent

  l9     activity pr hibited f y Business anci Professions Code sections 1 20t et seq

 2                2 1       As a result c ftheir impr pei acts I efendants have reaped and continue to reap

 21      unfair b nefits and illegal profits at Plaintiff s expense      Defenaants should be enjoined frQm tl2is

 22      activit3 and nlade to disgc rge these il gotten gains and restore to Plaintiff the wrongfully withheld
 23
         wag s and related premiwn pay andlor penalties pursuant ta Busin ss anr P rofessions Cade
 24      s ction 17203


 25                                                   PRAYER FOR RELIEF

 26               WHEREF RE Plaintiffrequests the fallowing relief

 27                1        That the C ourt finc that Defendants vioiations as described above are found ta

 24      have been wiilfut

                                                                 3l

            NATASHA SCflGGiNS C014TPLAINT F R DANIAGES fiND IN3UNCTI E RELIEF
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     1              2           That I efendants be c rdered and enjoined tc pay restituti4n t Plaiz tiff due to

     2    Def endants unlawfut unfair and fraudulent activities pursuant to Business and Frafessions C4de

     3    sections I7240 172Q5

                    3           That Deiendants further be enjoined tc ceas and clesist frdm unlawful aetivities in

     S    violatioc of B siness arrd Pmfessior s Gode sections 17200 et sec

     b              4           For dis     orgement through restitution of a    1 ill    otten andr or i 1 gained profits

     7    including unpaid wages premiums andlor penalties resulting fram Defendants unfair business
     8    practiees pursuant to Busines anei Professions Code sectivns 172Q4 17205

     9              5           That I efendants be ardered to pay punitive damages to Plaintiff as weli as all other

 IO       recaverable penalties to Plaintiff an lox the State of California

 l 1                6           For special and general dam ges

 12                  7          Fcsr unpaid wages and pena ties


 13                  8          For pa t and future lc st income and bercefi s


 1                  9           For     motianai distress damages


 15                  1Q         That Plai tiff be awarded reasonable attarneys fees where avai able by law

 I6       including but not limited to pursuant to the Labor Cade the Government Cade and or ather
 17       appLicable laws


 18                  1l         For casts ofsuit incurred herein


 19                  l2         Prejud ment and pc st judgment interest as avaiiable by law and

 2Q                  13         For such flther and fur her reliefas this Cotzrt may deem just and praper

 21

                                                                                         APPLETQIY LAW GRClLIP APC
 2        DATED Octvber                         2020

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                                                                                                        r




  2l                                                                        By
                                                                                         H EATHER        PLE TOI 1
                                                                                         Attoi neys for Plaintiff
     2
                                                                                         NATASHA SC4G CINS

     26    lll


     27    lll

     2
                                                                       32

                 NATASHA SGOGGINS Cfl1 iPLAINT F R DAMAGES AN4l INJ INCTIVE RELIEF                                 Printed nn Etef ycte t   Qap t
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   i                                                llE IAND FOR JURY TRIAL


   2            Plaintiff hereby demands a jury trial af a1l caus s c f action and c aims wittt respect to
   3   which she has a right to jury trial
   4


   3   UATED Qctob                         02                              PPLETON L      W GR       UP APC

   6
                                                                     By
   7                                                                      I3EATH   PPLET JN
                                                                          Attorney Plaintiff
   8                                                                      NATA HA SCOGGINS


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